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                  EXHIBIT 1




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                          UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                              REGION4
                                                 ATLANTA FEDERAL CENTER
                                                    61 FORSYTH STREET
                                               ATLANTA, GEORGIA 30303-8960



CERTIFIEO MAIL
                                                    '9AR 2 7 2020
RETURN RECEIPTREQUESTEO

The Honorable Chokwe A. Lumumba
Mayor of City of Jackson
219 South President Street
Jackson, Mississippi 39205

       Re: Emergency Administrative Orderunder SOWA Section 1431, 42 U.S.C. § 300i
           Pub tic Water System: City of Jackson Public Water System
           PWS ID Number: MS0250008
           Docket No.: SDWA-SDWA-04-2020-2300

Dear Mayor Lumumba:

Enclosed is an Emergency Administrative Order (Order) issued by the U.S. Environmental Protection
Agency to the City of Jackson, Mississippi (Respondent), as the owner/operator of the City of Jackson
Public Water System (System), pursuant to section 1431 of the Safe Drinking Water Act (SOWA), 42
U.S.C. § 300i.

Based on observations made by the EPA during its inspection conducted the week of February 3, 2020,
and review of the documents provided by Respondent in response to the EPA 's request for information
issued pursuant to its authority under section 1445 of the SOWA, 42 U .S.C. § 300j-4, the EPA has
determined that conditions exist at the System that present an imminent and substantial endangerment to
the persons served by the System. Based on evidence of turbidity exceedances, disinfection treatment
concerns, and/or the condition of the distribution system, the System has the potential to have the
presence of E. Coli, Cryptosporidium, or Giardia in the drinking water being served to its customers.
Therefore, pursuant to section 1431 of the SOWA, 42 U.S.C. § 300i, the EPA is authorized to take
actions necessary to protect human health. The Order and its requirements are necessary to ensure
adequate protection of public health.

The enclosed Order sets forth the actions that must be taken to ensure that the people served by the
System are provided with safe drinking water. The Order requires the System to, among other things:
(1) develop and implement a plan to address all monitoring equipment and appurtenant treatment
equipment repairs and/or replacements; (2) address dosing processes for disinfection and pH control;
(3) develop and implement a plan to provide alternative drinking water when specific triggers are met;
and (4) take additional total coliform bacteria samples under prescribed conditions.

The Order constitutes a final agency action and under Section 1448(a) of the SOWA, 42 U .S.C. § 300j-
7(a) you may seek federaljudicial review. If you have any questions or wish to discuss this Order,
please contact Amanda Driskell at (404) 562-9735 or Oriskell.Amanda@epa.gov. For legal inquiries,

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please have your attorneys contact Suzanne Armor, Associate Regional Counsel, at (404) 562-9701 or
Armor.Suzanne@epa.gov. Thank you for your attention to this matter.




                                                  Carol L. Kemker
                                                  Director
                                                  Enforcement and Compliance Assurance Division


Enclosure

cc: Robert K Miller, Director, City of Jackson Department of Public Works
    Lester Herrington, Director of Office of Environmental Health,
     Mississippi State Department of Health




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                  UNITED STATES ENVffiONMENTAL PROTECTION AGENCY
                                       REGION4

IN THE MATTER OF:                           )               Docket No. SDWA-04-2020-2300
                                            )
City of Jackson, Mississippi,               )               EMERGENCY ADMINISTRATIVE
                                            )               ORDER
 Respondent.                                )
                                            )               Proceeding pursuant to Section 143l(a)
Public Water System, PWS ID. No. MS0250008. )               of the Safe Drinking Water Act,
                                            )               42 U.S.C. § 300i(a).


                                          I.       AUTHORITY

1.     This Emergency Administrative Order ("Order") is issued to the City of Jackson, Mississippi
       ("Respondent") pursuant to the authority vested in the Administrator of the U.S. Environmental
       Protection Agency Section 143 l(a) of the Safe Drinking Water Act ("SDWA"), 42 U.S.C.
       § 300i(a). The Administrator has delegated this authority to the Regional Administrator of the EPA
       Region 4, who has, in tum, delegated this authority to the Director of the Enforcement Compliance
       and Assurance Division.

2.     The EPA has jurisdiction to issue emergency orders pursuant to Section 1431 of the SDWA,
       42 U .S.C. § 300i.

                  II.        FINDINGS OF FACT AND CONCLUSIONS OF LAW

General Findings

3.     Respondent is a municipality created under the laws of the State of Mississippi and is therefore a
       "person" as that term is defined in the SDWA. 42 U.S.C. § 300f(l2); 40 C.F.R. § 141.2.

4.    Respondent owns and/or operates a public water system located in the City of Jackson, Mississippi,
      PWS ID No. MS0250008 ("System"). The System provides water for human consumption to a
      population of approximately 173,514.

5.    The System is a "public water system" within the meaning of Section 1401(4) of the SDWA,
      42 U.S.C. § 300f(4); 40 C.F.R. § 141.2.

6.    The System regularly serves at least 25 year-round residents and is therefore a "community water
      system" ("CWS") within the meaning of Section 1401( 15) of the SDWA, 42 U.S.C. § 300f(l 5), and
      40 C.F.R. § 141.2.

7.    Respondent 's ownership and/or operation of the System makes it a "supplier of water" within the
      meaning of Section 1401 (5) of the SDWA, 42 U.S.C. § 300f(5), and 40 C.F.R. § 141.2, and subject
      to the requirements of Part B of the SDWA, 42 U.S.C . § 300g, and the National Primary Drinking
      Water Regulations ("NPDWRs") at 40 C.F.R. § 141.




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8.    Pursuant to SDWA Section 1413, 42 U .S.C. § 300g-2, the Mississippi State Department of Health
      ("MSDH") has primary responsibility for the implementation and enforcement of the public water
      supply program in Mississippi.

9.    The System consists of two water treatment plants, known as the O.B. Curtis Water Treatment Plant
      ("O.B. Curtis WTP") 1 and the J.H. Fewell Water Treatment Plant ("J.H. Fewell WTP"), 2 a number
      of groundwaterwells,3 and appurtenant collection, treatment, storage, and distribution facilities.4

10. Portions of the System can be supplied by both ground and surface water sources, while others are
    served only by surface water sources. The surface water sources are the Ross Barnett Reservoir and
    the Pearl River. The ground water source is the Spaita Aquifer.

11. The O.B. Curtis and J.H. Fewell WTPs, both of which treat the surface water portions of the
    System, employ conventional filtration with ultraviolet ("UV") systems to inactivate pathogens.
    Finished water at the WTPs is disinfected using chloramines.

12. UV disinfection treatment is installed on each individual filter effluent ("IFE") flow at both the
    O.B. Curtis and J.H. Fewell WTPs to treat for viruses, including Cryptosporidium and Giardia.

13. Respondent'sPWS is required to provide filtration pursuant to40 C.F.R. §§ 141.73 and 141.173,
    and disinfection pursuant to 40 C.F .R. §§ 141. 72(b) and 141 .172.

14. Ground water from the wells is treated at the point of withdrawal using gaseous chlorine.

15. The tenn "contaminant" means any physical, chemical, biological, or radiological substance or
    matter in water." 42 U.S.C. § 300f(6).

16. Turbidity is a measure of the cloudiness of water. It is used to indicate water quality and filtration
    effectiveness (such as whether disease-causing organisms are present): Higher turbidity levels are
    often associated with higher levels of disease-causing microorganisms.

17. E. coli, Cryptosporidium, and Giardia are contaminants under the meaning of 42 U.S.C. § 300f(6),
    and are or may be present in the System.

18. On November 22, 2019, the EPA issued a Request forlnformation to Respondent, pursuant to
    Section 1445 of the SDWA, 42 U.S.C . § 300j-4, and 40 C.F.R. § 141.3 l, seeking infonnation to
    determine Respondent's compliance with federal drinking water regulations.

19. On December 23, 2019, Respondent provided its response to the EPA 's Request for Information.




1 To the EPA 's knowledge and belief, the O.B. Curtis WTP was initially constructed in or around 1992.
2 To the EPA's knowledge and belief, the J.H. Fewell  WTP was initial.ly constructed in or around 19 I 4.
3
  Respondent maintains at least six active groundwatcrwclls (T.V. Road Well, Willo-O-Wood Well, Wiggins Road Well,
Siwell Road Well, Highway 18 Well, and Maddox Road Well), along with three inactive groundwater wells (Forest Hill
Road Well, Rainey Road Well, and Presidential Hill Well).
4
  Until approximately October2014, there were two separately identified public drinking water systems owned by the City of
Jackson, Mississippi. One was supplied entirely by groundwater and identified under the PWS ID No. M S0250012; the other
was supplied by surface water and identified under the PWS ID No. MS0250008.




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20. On January 15 and 16, 2020, consistent with the requirements of Section 1445(b)(l), 42 U.S.C.
    § 300j-4(b)(1 ), the EPA notified MSDH and Respondent, respectively, of its intent to inspect the
    PWS.

21. On February 3 to 7, 2020, representatives of the EPA conducted an inspection of the PWS, pursuant
    to its authority under Section 1445(b)(l) of the SOWA, 42 U.S.C. § 300j-4(b)(l).

Bacterial Contamination and Proper Disinfection

22. During t he inspection, the EPA identified the foE!owing preliminary concerns related to bacterial
    contamination and proper disinfection:

       a. The necessary chemical dosing of coagulant to address turbidity is detemtined by the
          streaming current detectors ("SCDs"); however, Respondent 's SCDs were not properly
          calibrated at either the O.B. Curtis or J.H. Fewell WTPs, thus failing to provide accurate
          dosing for proper treatment of drinking water;

       b. Continuous monitoring equipment at the O .B. Curtis WTP has not been repaired or calibrated
          for approximately three years since the instrument technician position was vacated. This
          equipment includes pH meters, flow measurement devices, turbidimeters, and the SCDs.
          Comparisons of operator laboratory bench sheet results indicated that the readouts from the
          continuous pH meters are off by up to 2 units in some instances. It was indicated on the
          monthly operating reports submitted in response to the EPA 's November 22, 2019 Request for
          Information, that this equipment was used as the basis for the values reported for compliance.

       c. Jar tests are commonly used in the industry as "bench-scale" simulations of full-scale
          coagulation/flocculation/sedimentation water treatment processes. Respondent does not
          follow the industry standard of conducting regular jar tests at both the O.B. Curtis and
          J.H. Fewell WTPs. Because the SCDs are used as the basis for those coagulant dosing
          decisions w ithout having been calibrated, the lack of jar testing is an additional indicator in
          evaluating the ability of the WTPs to deliver safe drinking water to the System' s users.

       d. Respondent conducts membrane cleaning cycles without the use of automatic monitoring
          equipment for pH and chlorine levels. Excess chlorine levels can damage and reduce
          membrane efficiency. In addition, membrane cleaning is partially dependent on pH, requiring
          either higher or lower pH cleaning regimes based on the foulants present. This automatic
          monitoring equipment has been nonfunctional for several years.

       e. Respondent cannot currently perform membrane integrity testing at O.B. Curtis WTP due to
          wear and breakage of the system components and compressor. This is 1.;unceming due to the
          inability of the Respondent to evaluate the membrane filters' mechanical integrity during
          times of turbidity exceedance.

       f. Respondent has failed to perform filter maintenance at O.B. Curtis WTP and J.H. Fewell.
          Considering the recent turbidity exceedances, it is crucial that Respondent maintain the
          System filters to perform in optimal condition for protection of human health.

       g. ND PWRs require a system's combined filtered water at each plant be less than or equal to 0.3
          NTU in at least 95% of the measurements taken each month, and the turbidity level ofa

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          system's combined filtered water at each plant must at no time exceed I NTU. Turbidity
          exceedances were reported at both the O.B. Curtis and J.H. Fewell WTPs in the January 2020
          monthly operating report ("MOR"). Finished water turbidity reached 1.35 NTIJ at the O.B.
          Curtis WTP and 3.00 NTU at theJ.H. Fewell WTP. Additionally, at the O.B. Curtis WTP,
          93.5% of turbidity samples were equal to or less than the turbidity limit of 0.3 NTU . The
          EPA's inspectors observed that the continuous turbidity monitoring equipment at theO.B.
          Curtis WTP has read inaccurately for approximately three years due to a lack of calibration.
          and maintenance, and that turbidity samples were taken during this time period at a frequency
          of once per shift, for a total of three times per day. Given that the turbidity monitoring
          equipment was not operational, the system, to maintain compliance with N DPRWs, should
          have conducted grab sampling every four hours in lieu of continuous monitoring, but for no
          more than five working days following the nonoperation of the equipment.

       h. UV disinfection devices were found to be offline for significant periods of time at both the
          O .B. Curtis and J.H. Fewell WTPs. UV disinfection devices are to be operated continuously.
          In its January 2020 MOR, Respondent reported the following:

                1.   At the J.H. Fewell WTP:

                        •   UV Reactor 1 was offline for the entire month of January 2020 (and had been
                            offline since October 16, 2019);
                        •   UV Reactor 2 was offline for 15 of 31 days;
                        •   UV Reactor 3 was offline for 17 of 31 days; and
                        •   UV Reactor 4 was offline for 17 of 31 days.
               11.   At the O.B. Curtis WTP:

                        •   UV Reactor 1 was offline for two of 31 days;
                        •   UV Reactor 2 was offline for four of31 days;
                        •   UV Reactor 3 was offline for one of 3 I days;
                        •   UV Reactor 4 was offline for three of 31 days; and
                        •   UV Reactor 5 was offlinefor IO of31 days.
23. MSDH provided the EPA with a list of all Boil Water Notices (" BWNs") issued between January 2,
    2016 and February 1, 2020, to provide notice to the public of the potential to have serious ad verse
    effects on human health as a result of short-term exposure pursuant to 40 C.F.R. § 141.202. The
    majority of the BWNs issued were due to loss of pressure from leaks and/or line breaks. Low-
    pressure and loss of pressure in a drinking water distribution system may cause a net movement of
    water from outside the pipe to the inside through cracks, breaks, or joints in the distribution system.
    Crack, breaks and joints are common in all water systems. Backsiphonage occurs when pressure is
    lost in pipes creating a negative pressure and a partial vacuum that pulls water from a contaminated
    source outside the pipe into the treated , potable water inside the pipe. This creates a suitable
    environment for bacteriological contamination and other disease-causing organisms, including E.
    coli, to enter the water distribution system downstream of the WTPs, which is then delivered to
    users.


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24. High levels of turbidity increase the likelihood that drinking water may contain disease-causing
    organisms, such as Cryptosporidium, Giardia, Legionella, and E.coli because particles of turbidity
    provide shelter for microbes and reduce the microbes' exposure to disinfectants. If particulate
    material is not removed, a high turbidity event can provide shelter for and promote regrowth of
    pathogens in the water, leading to an outbreak of waterborne diseases.

25. Pathogens, such as Giardia, Cryptosporidium, and Legionella, are often found in water. If
    consumed, these pathogens can cause gastrointestinal illness (e.g., diarrhea, vomiting, cramps) and
    other health problems. These illnesses may be severe and sometimes fatal for people with weakened
    immune systems. Cryptosporidium is a significant concern in drinking water because it is resistant
    to chlorine and other disinfectants.

26. E. coli are bacteria, that when present, indicate the water may have been contaminated with human
    and/or animal wastes. Human and/or animal wastes may contain pathogens that can cause short-
    term health impacts, such as diarrhea, cramps, nausea, headaches, or other symptoms. Pathogens
    may pose a greater health risk for infants, young children, the elderly, and people with severely
    compromised immune systems.

MSDH Actions and the EPA's Coordination with MSDH

27. MSDH has pursued informal enforcement actions against Respondent for Lead and Copper Rule
    ("LCR") treatment technique violations and Long-Term Enhanced Surface Water Treatment Rule
    violations due to turbidity exceedances. Additionally, MSDH issued a compliance plan to
    Respondent on February 12, 2016, to address the LCR violations that occurred starting in June
    2015. However, these actions have not been effective in adequately protecting the health of the
    System' s users with respect to the findings above.

28. EPA consulted with the City of Jackson and MSDH, to the extent practicable in light of the
    imminent endangerment, to confirm the correctness of the information on which this Order is based
    and to ascertain the action which such authorities were or would be taking.

29. Based on the findings above, the EPA has determined that the System has numerous SOWA
    violations, including violations of the N PDWRs.

30. Based on the findings above, and despite actions taken by MSDH, the local authorities have not
    undertaken all actions necessary to protect the public health and conditions exist at the System that
    may present an imminent and substantial endangerment to the health of persons served by the
    System. On February 28, 2020, MSDH submitted a written request for the EPA to assist with
    addressing the System's SOWA noncompliance. Therefore, this Order is necessary to protect
    human health.

31. The EPA has therefore determined that the actions specified in this Order are necessary to protect
    the health of persons.




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                                         III.       ORDER

Based on the foregoing findings and conclusions, and pursuant to Section 1431 of the Act, 42 U.S.C.
§ 300i, it is ordered:

                                            Intent to Comply

32. Within 72 hours of receipt of this Order, Respondent must notify the E PA in writing of its intent to
    comply with the terms of this Order. To satisfy this requirement, Respondent shall email the EPA
    point of contact identified below in Paragraph 44.

                                           Public Notification

33. Effective immediately upon the Effective Date of this Order, Respondent shall carry out the public
    notice requirements as required by 40 C.F .R. Part 141, Subpart Q for all future violations of
    NPDWRs. Additionally, Respondent must treat any exceedances of maximum allowable turbidity
    levels and breaks in water lines or other low pressure or loss of pressure events likely to cause
    contamination in the System's distribution system as requiring Tier l public notification as required
    by 40 C.F.R. § 141.202 until notified by the EPA that this is no longer necessary.

                          Treatment and Distribution System Management

34. Notwithstanding the requirements of this Order, Respondent shall continue to implement all
    applicable monitoring and reporting requirements of the SDW A and NPDWRs in accordance with
    40 C.F .R. Part I 41.

35. Dosing Process Repair. Within one week of the Effective Date of this Order, Respondent shall fix
    dosing process ford is infection and pH control.

36. Repair and/or Replacement of Equipment.

       a. Within one week of the Effective Date of this Order, Respondent shall provide to the EPA and
          MSDH a status of all monitoring equipment and appurtenant treatment equipment (including,
          but not limited to, pH meters, flow measurement devices, turbidimeters, SCD s, chlorine
          analyzers, raw water screens, UV reactors, automatic sludge removal system, membrane
          filtration treatment train flocculator motors, membrane integrity testing system, and filters).
          This must include, at a minimum, descriptions of the conditions of the equipment, identify in
          which facility this equipment is located, any needed repairs, and status of calibration.

       b. Within 30 days of the Effective Date of this Order, Respondent shall submit a comprehensive
          plan, including a schedule of implementation, for the EPA ' s review and approval, to repair
          and/or replace monitoring equipment and repair, replace, and/or perform maintenance on the
          appurtenant treatment equipment to ensure the System bas the appropriate treatment
          equipment and appropriate information to make treatment decisions, and that the water quality
          is properly measured for compliance with the NPDWRs. All future MORs and weekly data, as
          required pursuant to Paragraph 43(43.a), shall include the date of last calibration and any
          repairs and/or replacement of monitoring equipment done since the last report was provided,
          until further notice by the EPA.



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      c. Until such time as the monitoring equipment has been repaired and/or replaced and properly
         maintained, Respondent shall conduct monitoring by collecting grab samples every four hours
         in lieu of the continuous monitoring. For any instance where grab sampling is conducted in
         Lieu of the required continuous monitoring, Respondent shall identify this deviation in the
         weekly MO Rs provided in accordance with Paragraph 43(43.a) of this Order.

37. CFE Turbidity Exceedance Events.

      a. In the event of CFE turbidity measurements exceeding 1.0 NTU, Respondent shall implement
         the following:

               1.   Comply with all requirements ofNPDWRs, including 40 C.F.R. §§ 141.170 -
                    141.175.

             u. Notify the EPA and MSDH within 24 hours. If cause of the exceedance is known,
                    include this information with notice. However, do not hold or delay the notification in
                    instances where the cause of the exceedance is not known.

            1.11.   Consult w ith MSDH on the exceedance and the appropriate BWN.

            1v. Respondent shall issue a Tier 1 public notice as required by 40 C.F.R. § 141.202.

             v. Within 24 hours after the CFE turbidity is less than 0.3 NTU, Respondent shall
                collect consecutive daily (one sample per calendar day) special purpose samples
                (bacteriological and microbial) (defined in 40 C.F.R. § 14 l.2l(a)(6)) from the entry
                point to the d istribution system of the treatment p !ant that had the turbidity
                exceedance, as well as any other distribution sampling location deemed necessary as
                identified by MSDH. Respondent shall ensure that each sample is analyzed for total
                coliform, E. coli (if sample is total coliform positive), and chlorine residual.

            vi. Provide the EPA with chlorine residual results as measured at the entry point to the
                System and in the System's distribution for 10 calendar days preceding and following
                the event.

      b. In the event of CFE turbidity measurements exceeding 2.0 NTU, Respondent shall implement
         the following:

              1.    Comply with all requirements ofNPDWRs, including 40 C.F.R. §§ 141.170 -
                    141.175.

             11.    Immediately issue an appropriate BWN, provide notice and consult with MSDH
                    within 24 hours, and provide notice to the EPA within 24 hours.

            ill.    Respondent shall issue a Tier 1 public notice as required by 40 C.F.R. § 141.202.

            iv. Within 24 hours after the CFE turbidity is less than 0.3 NTU, the System shall collect
                consecutive daily (one sample per calendar day) special purpose samples
                (bacteriological and microbial) (defined in 40 C.F.R. § 141.2l(a)(6)) from the entry
                point to the distribution system of the treatment plant that had the turbidity


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                  exceedance as well as any other distribution sampling location deemed necessary, as
                  identified by MSDH . Respondent shall ensure that each sample is analyzed for total
                  coliform,£. coli (if sample is total coliform positive), and chlorine residual.

               v. Provide the EPA with chlorine residual results as measured at the entry point to the
                  System and in the System's distribution for l Ocalendar days preceding and following
                  the event.

              v1. Respondent shall provide the EPA and MSDH a self-assessment evaluation of CFE
                  and IFE to include: (1) assessment of filter performance: (2) development of a filter
                  profile; (3) identification and prioritization of factors limiting filter performance; and
                  (4) corrective action plan to address the issue.

38. Low Pressure/Loss of Pressure Events. In the future event that Respondent experiences breaks in
    water lines or other low pressure or loss of pressure events likely to cause contamination in the
    System's distribution system, Respondent will take the following actions:

       a. Respondent shall consult with MSDH within 24 hours to determine if a BWN is required and
          provide notification to the EPA within 24 hours.

       b. Respondent shall issue a Tier l public notice as required by 40 C.F.R. § 141.202.

       c. Respondent shall immediately repair the line break or cause of the low pressure/loss of
          pressure. When satisfied that system pressure will be maintained and there is adequate
          chlorine residual, Respondent shall begin sampling from the affected area as described below.
          MSDH typically recommends a free chlorine residual of 0.5 mg/I at the ends of your
          distribution system.

       d. Within 24 hours after making repair(s) to the waterline(s) as required above, Respondent
          shall begin collecting special purpose samples (bacteriological and microbial) (defined in 40
          C.F.R. § 141.21 (a)(6)) from the System's distribution system. The chart, in Attachment I to
          this Order, lists the number of samples required based on the number of customers affected. If
          the entire system is placed on BWN, samples should be collected from sites representing the
          entire water system. Respondent shall ensure that each sample is analyzed for total coliform,
          E.coli (if the sample is total coliform positive), and chlorine residual. Respondent shall
          continue sampling until results from two consecutive rounds are total coliform negative.

39. Alternative Water Source Plan Development and Implementation.

      a. Within 14 days of the Effective Date of this Order, Respondent shall develop, and submit to
         the EPA for review and approval, an A lternative Water Source Plan ("A WSP"). In the A WSP,
         Respondent shall detail how and where it will provide at least one gallon of potable water per
         day, per person to every person served by the System. This allotment of alternative water must
         be made available at no cost to every person served by the System, as needed for drinking,
         cooking, maintaining oral hygiene, and dish washing. The AWSP will also outline how
         Respondent will inform every person served by the System of when and bow an alternative
         water source is made available. As part of its AWSP, Respondent may opt to provide an
         alternate water supply that is: ( l) provided by a licensed water distributor; (2) purchased
         bottle water; or (3) provided by another public water system that meets the requirements of

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          the NPDWRs. Note: If the AWSP trigger is localized to a specific portion of the distribution
          system and the entire system is not impacted, Respondent may opt to only serve alternative
          water to the portion of the population impacted. In order to consider this approach, the A WSP
          must include a detailed map of the System.

       b. Toe alternative source of water provided shall meet all applicable SOWA requirements at 40
          C.F .R. § 141. If bottled water will be used by Respondent as an alternative water in accordance
          with this Order, Respondent must ensure that the bottled water is certified by the International
          Bottled Water Association or National Sanitation Foundation International.

       c. A WSP Implementation Triggers.

                1.   If, based upon Respondent' s Revised Total Coliform Rule ("RTCR") sampling data
                     collected in accordance with 40 C.F.R. § 141.857 and as outlined in Paragraph 4 1
                     below, the PWS exceeds 5.0% total coliform-positive samples in any monthly period
                     during the term of this Order, Respondent shall comply with the "Level 1" assessment
                     requirements of the RTCR at 40 C.F.R. § 141 .859(b). In addition, Respondent shall
                     begin implementation of the AWSP within 24 hours of receiving such sampling
                     results. Respondent shall continue implementing the A WSP until the EPA provides
                     written notification to Respondent that A WSP implementation is no longer required;
                     or

               11.   Within 24 hours of Respondent's collection of daily special purpose samples required
                     under Paragraphs 37 and 38 above, Respondent shall begin implementation of the
                     A WSP. Respondent shall continue implementing the A WSP until all daily special
                     purpose sample results are total coliform negative. Note: The A WSP may consider, in
                     certain situations, that only a portion of the population is impacted by the triggering
                     event and therefore alternative water only needs to be provided to those impacted. See
                     requirements under Paragraph 39(a) above.

                                       Notifications and Reporting

40. Within 72 hours of the Effective Date of this Order, Respondent shall provide the February 2020
    MO Rs, including the IFE data for all conventional filters at both the O.B. Curtis and J.H. Fewell
    WTPs during this timeframe.

41. Sample Siting Plan.

       a. Within one week of the Effective Date of this Order, Respondent shall review its current
          Sample Siting Plan developed pursuant to 40 C.F.R. § 141.853, to ensure consistency with the
          RTCR, at 40 C.F.R. Part 141, subpart Y, and simultaneously provide a copy of the current
          Sample Siting Plan to the EPA for the EPA 's concurrent review.

       b. If the current Sample Siting Plan does not include a minimum of 120 sampling locations per
          month as required under40 C.F.R. § 141.857(b), Respondent shall update the Sample Siting
          Plan to achieve the required minimum monitoring frequency for the monthly monitoring
          period after the Effective Date of this Order.




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       c. Within 10 business days of the Effective Date of this Order, Respondent shall provide to the
          EPA, RTCR sampling data for the months of January 2020 and February 2020. If the
          Respondent has not yet conducted the March 2020 sampling, this sampling shall be conducted
          within one week of the Effective Date of this Order and the results submitted within 10 days
          of receipt of the sampling analysis. If the March 2020 sampling has been completed prior to
          the Effective Date of this Order, Respondent shall submit these results along with the January
          2020 and February 2020 results. All R TCR sampling data shall include the chlorine residual
          data for the R TCR locations.

       d. The Respondent shall continue to submit the R TCR sampling data to the EPA until directed
          otherwise. This data shall include all chlorine residual data for all RTCR sampling locations.

42. Respondent must notify the EPA within 24 hours after learning of a violation of this Order or any
    NPDWRs, or of a situation with the potential to have serious ad verse effects on human health as a
    result of short-term exposure to contaminants.

43. Establishing Regular Contact with the EPA.

       a. Immediately upon the Effective Date of this Order and until further notice by the EPA,
          Respondent shall submit MOR information weekly as follows:

                   1.   Reports must run from Sunday to Saturday each week;

                  11.   Weekly reports must be submitted to the EPA and MSDH by Tuesday of the
                        following week (e.g., for the monitoring tirneframe of Sunday, March 29 through
                        Saturday, April 4, the report must be submitted by Tuesday, April 7).

              111.      lFE data must be submitted with each weekly MOR until further notice.

                 1v. If at any time, the Respondent is notified , by the EPA or MSDH that a revision to the
                     MOR is required, the Respondent shall implement the revision on the following
                     report required unless the EPA or MSDH provides a specific alternate timeline for
                     implementation.

       b. Within five business days of the Effective Date of this Order, Respondent shall begin
          submitting weekly updates to the EPA on Respondent 's progress complying with this Order.
          Respond ent shall submit subsequent weekly reports on Tuesday of each subsequent week.
          Each weekly update shall identify and describe all actions taken in the previous week to meet
          the requirements of this Order.

       c. Within seven business days of the Effective Date of this Order, Respondent shall contact the
          EPA to set up a mutually agreeable meeting schedule. The purpose of the meetings to be
          scheduled pursuant to this paragraph are to accomplish the following goals:

             1.         Provide an opportunity for the Respondent and the EPA to clarify requirements and
                        timelines,

            u.          Provide an opportunity for Respondent to report to the EPA any issues, concerns, or
                        problems it faces in complying with the terms of this Order, and

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             111.   Provide an opportunity for Respondent and the EPA to maintain an open channel of
                    communication wherein new information can be shared.

        d. Respondent shall prepare an outline of a ll the requirements in this Order, how Respondent
           plans to meet all the requirements of this Order, and submit to the EPA in writing at least 48
           hours in advance of the first agreed-upon meeting required under Paragraph 43(c) above. If
           this falls on a weekend, Respondent shall provide the outline on the last workday before the
           meeting.

44. Respondent shall send all reports, notifications, documentation and submittals required by this
    Order in writing or via e-mail to:

                       U.S. EPA, Region 4
                       Enforcement and Compliance Assurance Division
                       Attn: Amanda Driskell
                       U .S. Environmental Protection Agency
                       61 Forsyth Street
                       Atlanta, GA 30303
                       Email: driskell.amanda@epa.gov

45. ALI reports, notifications, documentation, and submissions required by this Order must be signed by
    a duly authorized representative of Respondent and must include the following statement:

        "I certify under penalty of law that this document and all attachments were prepared under
        my direction or supeivision in accordance with a system designed to assure that qualified
        personnel properly gather and evaluate the information submitted. Based on my inquiry of
        the person or persons who manage the system, or those persons directly responsible for
        gathering the information, the information submitted is, to the best of my knowledge and
        belief, true, accurate, and complete. I am aware that there are significant penalties for
        submitting false information, including the possibility of fine and imprisonment for
        knowing violations."

                                     IV.       PARTIES BOUND

46. The provisions of this Order shall apply to and be binding upon Respondent, its officers,
    employees, agents, successors, and assigns.

                                V.         GENERAL PROVISIONS

47. This Order constitutes final agency action. Under Section 1448(a) ofthc SDWA, 42 U .S.C. § 300j-
    7(a), Respondent may seek federal judicial review.

48. The EPA may modify this Order to ensure protection of human health. The EPA will communicate
    any modification(s) to Respondent in writing and the modification(s) shall be incorporated into this
    Order.

49. Compliance with the terms and conditions of this Order shall not in any way be construed to relieve
    Respondent from its obligations to comply with all provisions of federal, state, or local law, nor
    shall it be construed to be a determination of any issue related to any federal, state or local permit.

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    Compliance with this Order shall not be a defense to any actions subsequently commenced for any
    violation of federal laws and regulations administered by the EPA, and it is the responsibility of
    Respondent to comply with such laws and regulations.

50. Pursuant to SDWA Section 1431(b), 42 U.S.C. § 300i(b), in the event Respondent violates, fails or
    refuses to comply with any of the terms or provisions of this Order, the EPA may commence a civil
    action in U.S. District Court to require compliance with this Order and to assess a civil penalty of
    up to $24,386 per day of violation under the SOWA, as adjusted by the Federal Civil Penalties
    Inflation Adjustment Act of 1990, amended by the Debt Collection Improvement Act of 1996, and
    the subsequent C ivil Monetary Penalty Inflation Adjustment Rule, 40 C .F.R. § 19.

51. The EPA reserves all rights against Respondent and all other persons to take any further civil,
    criminal, or administrative enforcement action pursuant to any available legal authority, and to
    exercise its information gathering and inspection authorities. Nothing in this Order shall preclude
    the EPA from taking any additional enforcement actions, including modification of this Order or
    issuance of additional Orders, and/or additional actions as the EPA may deem necessary, and/or
    from requiring Respondent in the future to perform additional activities pursuant to the SDWA or
    any other applicable law.

                                  VI.        EFFECTIVE DATE

52. UnderSDWA Section 1431, 42 U.S.C. § 300i, this Order shall be effective immediately upon
    Respondent's receipt of this Order. If modifications are made by the EPA to this Order, such
    modifications will be effective on the date received by Respondent. This Order shall remain in
    effect until the provisions identified in the Order have been met in accordance with the EPA's
    written approval.

                                   VII.        TERMINATION

53. The provisions of this Order shall be deemed satisfied upon Respondent's receipt of written notice
    from the EPA that Respondent has demonstrated, to the satisfaction of the EPA, that the terms of
    this Order have been satisfactorily completed.




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FOR THE U.S. ENVIRONMENTAL PROTECTION AGENCY:




Carol L. Kemker, Director                        Date

Enforcement and Compliance Assurance Division
Region 4




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                                             ATTACHMENT I

                                           Sampling Requirements

    # of Connections             # of Samples             # of Connections             # of Samples
        Affected                   Required                   Affected                   Required

          1- 100                       2                    4,301 - 5,700                    18
        101 - 300                      3                    5,701 - 8,300                    20
        301 - 500                      4                   8.301 - 11,000                    30
        501 - 700                      5                   11,001 - 13,000                   40
        701 - 900                      6                   13,001 - 16,000                   50
       901 - 1,100                     7                   16,001 - 19,000                   60
      1,101 - 1,300                    8                   19,00 I - 23,000                  70
      1,301 - 1,600                    9                   23,001 - 27,000                   80
      1,601 - 2,200                    10                 27,001 - 32,000                    90
      2,201 - 2,500                    11                 32,001 -43,000                    100
      2,501 - 2,800                    12                  43,001 - 73,000                  120
      2,80 l - 4,300                   15                 73,001 - 107,000                  150
Note: Equivalent connections (and population served) wiU be considered when determining the number of
samples which must be collected for a system with a large ratio of population to connections.




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Mailing Addresses for the CCs:
Mr. Robert K. Miller, Director
City of Jackson Department of Public Works
200 South President Street
Jackson, Mississippi 39205-0017

William Moody, MSDH
Bureau of Public Water Supply
P.O. Box 1700
2423 North State Street
Jackson, MS 39215-1700




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